          Case 8:20-cv-02118-PX Document 173 Filed 06/06/22 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


 CASA DE MARYLAND, INC., et al.,

                      Plaintiffs,
         v.                                             Case No. 8:20-cv-2118-PX

 MAYORKAS, et al.,

                      Defendants.




      JOINT STATUS REPORT AND STIPULATION [AND PROPOSED ORDER]

       Pursuant to this Court’s paperless order dated May 10, 2022, ECF No. 172, the Parties have

conferred regarding Plaintiffs’ concerns about Defendants’ implementation of the February 7,

2022 order in Asylumworks v. Mayorkas, No. 1:20-cv-03815-BAH (D.D.C.), Dkt. No. 41, and

submit the following status report.

1) On April 12, 2022, this Court held a status conference with the Parties regarding the next steps

   in this case following the Asylumworks vacatur order, ECF No. 169, and ordered the Parties to

   file a joint status report no later than May 10, 2022. ECF No. 170.

2) Following that conference, Plaintiffs emailed Defendants some of their concerns about the

   government’s implementation of the Asylumworks vacatur order and the reasons they believed

   it necessary for this Court’s preliminary injunction to remain in place to protect Plaintiffs and

   their members and clients from irreparable harm.

3) On May 9, 2022, the Parties agreed and stipulated that Defendants would respond to Plaintiffs’

   concerns. The Parties also agreed and stipulated that they would submit a joint status report

   on June 6, 2022, which the Court approved. ECF Nos. 171, 172.
            Case 8:20-cv-02118-PX Document 173 Filed 06/06/22 Page 2 of 4



4) Defendants provided Plaintiffs a written response to their concerns on June 3, 2022. In view

   of the substance of Defendants’ response, the Parties agree that their positions are

   irreconcilable.

5) Plaintiffs believe that this action continues to present a case-or-controversy, that the Court can

   and should continue enforcing the preliminary injunction in order to protect Plaintiffs and their

   members and clients from irreparable harm, and reserve the right to continue to seek any

   additional relief to which they are entitled, including such relief as may be necessary in light

   of the government’s continuing failure to implement the February 7 Asylumworks vacatur

   order.

6) Defendants believe that this action no longer presents a case-or-controversy, that the Court

   need not and cannot continue to enforce the preliminary injunction, and that the Government

   is otherwise in compliance with the February 7 Asylumworks order as well as the other statutes,

   regulations, and other legal authorities that govern the processing of these applications.

7) Should the Court determine that briefing is necessary, the Parties have provided a proposed

   briefing schedule to address their respective positions. That schedule is as follows:

                •    Defendants will file a Motion to Dismiss by July 18, 2022.

                •    Plaintiffs will file their opposition to the Motion to Dismiss by August 1, 2022.

                •    Defendants will file their reply in further support of their Motion to Dismiss by

                     August 15, 2022.

8) A status conference is currently scheduled for 10:00 a.m. on June 13, 2022. Defendants believe

   that the most efficient way forward is to first discuss this matter with the Court during that

   June 13th conference in order to determine whether briefing is necessary, and if so whether the

   Court has any particular scope or issues of concern. Plaintiffs defer to the Court to determine
         Case 8:20-cv-02118-PX Document 173 Filed 06/06/22 Page 3 of 4



   whether a conference would be helpful to the Court, or whether it would be most helpful to

   adjourn the conference until after the Parties have submitted briefing on Defendants’ assertion

   of mootness.

Dated June 6, 2022

Respectfully submitted,
                                                          /s/
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       Case 8:20-cv-02118-PX Document 173 Filed 06/06/22 Page 4 of 4



IT SO ORDERED.



________________________________________
PAULA XINIS
UNITED STATES DISTRICT JUDGE
